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                                   UNITED STATES DISTRICT COURT
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                                         DISTRICT OF NEVADA
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 7
     UNITED STATES OF AMERICA,            )
 8                                        )               CA 10-10125
                                          )
 9                   Plaintiff-Appellee,  )               2:07-cr-145-KJD
               vs.                        )               District of Nevada
10                                        )               (Las Vegas)
   MICHAEL WAYNE YOST,                    )
11                                        )
                     Defendant-Appellant. )                ORDER
12 ____________________________________)
13
            Pursuant to the order filed June 25, 2012, by the Ninth Circuit Court of Appeals directing the
14
     appointment of counsel for appellant, IT IS HERE BY ORDERED THAT Beau Sterling is appointed
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     to represent Michael Wayne Yost for this appeal. Mr. Sterling’s address is 228 South 4th Street, 1st
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     Floor, Las Vegas, Nevada 89101 and phone number is 702-583-3333.
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            Chad A. Bowers is directed to forward the file to Mr. Sterling forthwith.
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            The clerk is directed to forward a copy of this order to the Clerk of the Ninth Circuit Court
19
     of Appeals at counselappointments@ca9.uscourts.gov.
20
            DATED this 6 day of July 2012.
21          Nunc Pro Tunc date July 5, 2012.
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23                                                __________________________________________
                                                  UNITED STATES DISTRICT JUDGE
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